17 F.3d 1434NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Andrew C. HOSLEY, Petitioner-Appellant,v.P.L. HUFFMAN, Respondent-Appellee.
    No. 93-6873.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 6, 1993.Decided March 3, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James C. Turk, District Judge.  (CA-93-592-R)
      Andrew C. Hosley, pro se.
      W.D.Va.
      DISMISSED.
      Before HALL, PHILLIPS, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.*  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Hosley v. Huffman, No. CA-93-592-R (W.D. Va.  Aug. 9, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         To the extent that Hosley's complaint can be construed as raising 42 U.S.C. Sec. 1983 claims, we agree with the district court that they are frivolous for the reasons stated below
      
    
    